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                             United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

  UNITED STATES OF AMERICA                          §
                                                    §   Case Number: 4:98-CR-00047-002
  v.                                                §   Judge Mazzant
                                                    §
  AURELIO MENDEZ                                    §

                              MEMORANDUM OPINION & ORDER

          Pending before the Court is Defendant’s Pro Se Motion for Reduction of Sentence (Dkt.

   #1395). The Court, having considered the Motion, the response, the record, and the applicable

   law, finds that the motion must be DENIED.

                                                 I. BACKGROUND

          On February 25, 1999, Defendant Aurelio Mendez (“Mendez”) was convicted for several

   heroin distribution-related offenses (Dkt. #782). Mendez was sentenced to life imprisonment (Dkt.

   #1366).   He    is   serving   his     life   sentence   at   FCI   Victorville   Medium   I.   See

   https://www.bop.gov.inmateloc/ (Reg. No. 07089-078).

          On December 28, 2020, Mendez moved for compassionate release, arguing that COVID-

   19 and his overly harsh sentence warranted his release (Dkt. #1364). The Government responded

   that Mendez had not shown a right to relief on the merits because his reasons for release were not

   “extraordinary and compelling” (Dkt. #1366). On March 18, 2021, the Court denied Mendez’s

   motion for lack of jurisdiction (Dkt. #1379). On May 21, 2021, Mendez filed a notice of appeal

   to the March 18, 2021 order (Dkt. #1391). On September 21, 2021, the appeal was dismissed for

   want of prosecution (Dkt. #1396).

          On September 20, 2021, Mendez filed a Motion for Reduction of Sentence, the motion

   currently before the Court (Dkt. #1395). In the motion, Mendez contends that because the sentence
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   he received is “extraordinarily long,” “unconstitutional[,]” and he has demonstrated “extensive

   rehabilitation[,]” extraordinary and compelling reasons exist for a sentence reduction (Dkt. #1395

   at pp. 13 & 18). While this argument was advanced in Mendez’s original motion for compassionate

   release (Dkt. #1364), it was not substantially elaborated upon. Instead, that motion focused mostly

   on the threat posed by COVID-19 as an extraordinary and compelling reason warranting his

   release.

                                            II. LEGAL STANDARD

           A judgment of conviction imposing a sentence of imprisonment “constitutes a final

   judgment and may not be modified by a district court except in limited circumstances.” Dillon v.

   United States, 560 U.S. 817, 824 (2010) (quoting 18 U.S.C. § 3582(b)); see also 18 U.S.C.

   § 3582(c). One such circumstance arises from 18 U.S.C. § 3582(c)(1)(A), the statute authorizing

   compassionate release. Under § 3582(c)(1)(A), a district court may grant a sentence reduction if

   it finds: (1) a defendant “fully exhausted all administrative rights”; (2) “extraordinary and

   compelling reasons warrant such a reduction”; (3) “such a reduction is consistent with applicable

   policy statements issued by the Sentencing Commission”; and (4) such a reduction is appropriate

   “after considering the factors set forth in § 3553(a) to the extent that they are applicable.” 18 U.S.C.

   § 3582(c)(1)(A).

           The First Step Act of 2018 made the first major changes to compassionate release since its

   authorization in 1984. Pub. L. 115-391, 132 Stat. 5194. Procedurally, the First Step Act removed

   the Director of the BOP as the sole arbiter of compassionate release. Instead, the law enabled a

   defendant to move for compassionate release directly in district court after exhausting their

   administrative rights. 18 U.S.C. § 3582(c)(1)(A). Prior to this change, the BOP retained sole

   gatekeeping authority over compassionate release petitions. United States v. Brooker, 976 F.3d



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   228, 232 (2d Cir. 2020). This resulted in underuse and mismanagement.1 Id. Through the First

   Step Act, Congress sought to mitigate this by “increasing the use and transparency of

   compassionate release” Pub. L. 115-391, 132 Stat. 5194, 5239 (capitalization omitted).

            Substantively, the First Step Act also modified the “extraordinary and compelling reasons”

   determination. Congress never defined what constitutes “extraordinary and compelling,” but

   rather delegated this determination to the Sentencing Commission.2                                By the text of

   § 3582(c)(1)(A), any sentence reduction must be “consistent with applicable policy statements

   issued by the Sentencing Commission.” However, since passage of the First Step Act, the

   Sentencing Commission has not updated its guidelines on compassionate release.3 This has

   created significant disagreement across the country whether the pre-First Step Act policy statement

   is still “applicable,” and thus binding on district courts.

            The Fifth Circuit recently joined the Second, Fourth, Sixth, Seventh, and Tenth Circuits in

   concluding that § 1B1.13 is no longer binding on a district court. See United States v. Shkambi,

   2021 WL 1291609, at *4 (5th Cir. 2021) (“The district court on remand is bound only by

   § 3582(c)(1)(A)(i) and, as always, the sentencing factors in § 3553(a). In reaching this conclusion,

   we align with every circuit court to have addressed the issue.”). Under this new framework,

   § 1B1.13 still binds district courts on motions made by the BOP, but, for motions made directly


   1
     In 2013, a report from the Office of the Inspector General revealed that the BOP granted compassionate release to
   only an average of 24 incarcerated people per year. See U.S. Dep’t of Just. Office of the Inspector General, The Federal
   Bureau of Prisons’ Compassionate Release Program 1 (2013), https://www.oversight.gov/sites/default/files/oig-
   reports/e1306.pdf (last visited April 14, 2020). And of the 208 people whose release requests were approved by both
   a warden and a BOP Regional Director, 13% died awaiting a final decision by the BOP Director. Id.; see also
   Extraordinary and Compelling: A Re-Examination of the Justifications for Compassionate Release, 68 MD. L. REV.
   850, 868 (2009) (noting that, in the 1990s, 0.01 percent of inmates annually were granted compassionate release).
   2
     In 28 U.S.C. § 994(a)(2), Congress granted the Commission broad authority to promulgate “general policy statements
   regarding application of the guidelines or any other aspect of sentencing or sentence implementation that in the view
   of the Commission would further the purposes set forth in [18 U.S.C. § 3553(a)(2)].” And in 28 U.S.C. § 994(t),
   “Congress instructed the Commission to ‘describe what should be considered extraordinary and compelling reasons
   for sentence reduction, including the criteria to be applied and a list of specific examples.’” United States v. Garcia,
   655 F.3d 426, 435 (5th Cir. 2011) (quoting 28 U.S.C. § 994(t)).
   3
     The Sentencing Commission currently lacks a quorum to issue new guidelines.

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   by an inmate, district courts are free to consider any relevant fact in determining if “extraordinary

   and compelling reasons” exist. See Brooker, 976 F.3d at 235–36 (because the First Step Act allows

   both inmates and the BOP to file compassionate-release motions under § 3582(c)(1)(A), § 1B1.13

   now applies only when such motions are made by the BOP and is inapplicable when a

   compassionate-release motion is made by a defendant); United States v. McCoy, 981 F.3d 271,

   282 (4th Cir. 2020) (“A sentence reduction brought about by motion of a defendant, rather than

   the BOP, is not a reduction ‘under this policy statement.’”); United States v. Gunn, 980 F.3d 1178,

   1180 (7th Cir. 2020) (agreeing with Brooker and holding that there is no “applicable” policy

   statement for § 3582(c)(1)(A) motions after the First Step Act); United States v. Jones, 980 F.3d

   1098, 1109 (6th Cir. 2020) (“Until the Sentencing Commission updates § 1B1.13 to reflect the

   First Step Act, district courts have full discretion in the interim to determine whether an

   ‘extraordinary and compelling’ reason justifies compassionate release”).

          Despite this newfound discretion, district courts are not without guidance in determining

   whether “extraordinary and compelling reasons” exist. First, Congress has explicitly limited that

   “[r]ehabilitation of the defendant alone shall not be considered an extraordinary and compelling

   reason. 28 U.S.C. § 994(t) (emphasis added). Second, the Sentencing Commission’s policy

   statement and commentary is still persuasive. United States v. Logan, No. 97-CR-0099(3), 2021

   WL 1221481 (D. Minn., Apr. 1, 2021) (finding that § 1B1.13’s definition of “extraordinary and

   compelling” should be afforded “substantial deference . . . as such deference is consistent with the

   intent (even if not mandated by the letter) of § 3582(c)(1)(A)”). Application Note 1 of the policy

   statement provides that “extraordinary and compelling reasons” exist when: (1) a terminal illness

   or other medical condition “substantially diminishes the ability of the defendant to provide self-

   care within the environment of a correctional facility”; (2) a defendant, who is at least 65 years



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   old, “is experiencing a serious deterioration in physical or mental health because of the aging

   process” and “has served at least 10 years or 75 percent of his or her term of imprisonment”; and

   (3) a defendant has minor children without a caregiver or with an incapacitated spouse or partner

   who needs the defendant to be the caregiver. U.S.S.G. § 1B1.13, n.1(A)-(C). Lastly, BOP

   Program Statement 5050.50 (“PS 5050.50”), amended after passage of the First Step Act, describes

   the factors BOP considers grounds for compassionate release. See PS 5050.50 ¶¶ 3–6. These

   grounds are similar to the reasons identified by the Sentencing Commission, but also include a list

   of factors like rehabilitation and circumstances of the offense.4 Id.

            Building from this guidance, district courts across the country have identified additional

   situations where “extraordinary and compelling reasons” exist. First, while rehabilitation alone is

   not an “extraordinary and compelling” reason for a sentence reduction, it can be a significant factor

   warranting a sentence reduction when an inmate has an otherwise qualifying condition.5 S ee

   United States v. Rodriguez, 451 F.Supp.3d 392, 405 (E.D. Pa. 2020) (noting that the Sentencing

   Commission itself interpreted § 3582(c)(1)(A) as allowing consideration of an inmate’s

   rehabilitation). If an inmate demonstrates a long, comprehensive record of rehabilitation, it goes

   to whether injustice would result if they remain incarcerated. See Brooker, 976 F.3d at 238

   (identifying “the injustice of [a] lengthy sentence” as a factor that may weigh in favor of a sentence

   reduction). Second, courts consider any changes in law and the sentencing guidelines when

   determining if a sentence is extraordinary. For example, courts grant compassionate release at a



   4
     PS 5050.50’s nonexclusive factors are: “the defendant’s criminal and personal history, nature of his offense,
   disciplinary infractions, length of sentence and amount of time served, current age and age at the time of offense and
   sentencing, release plans, and ‘[w]hether release would minimize the severity of the offense.’” United States v.
   Saldana, 807 F. App’x 816, 819 (10th Cir. 2020) (quoting PS 5050.50 ¶ 7).
   5
     18 U.S.C. § 3142(g) aids the Court in determining whether a defendant is a danger to the community. Applicable
   factors include: “the nature and circumstances of the offense,” “the person's character, physical and mental condition,
   family ties, employment, . . . criminal history,” and “the nature and seriousness of the danger to any person or the
   community that would be posed by the person’s release.” 18 U.S.C. § 3142(g).

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   remarkable rate for inmates subject to the now abolished § 924(c) sentence-stacking. See McCoy,

   981 F.3d at 285 (“As the court observed in Bryant, multiple district courts have concluded that the

   severity of a § 924(c) sentence, combined with the enormous disparity between that sentence and

   the sentence a defendant would receive today, can constitute an “extraordinary and compelling”

   reason for relief under § 3582(c)(1)(A)”). Though Congress did not retroactively eliminate

   § 924(c) sentence-stacking, courts consider whether the outdated policy warrants relief on a

   case-by-case basis.6

            Even if extraordinary and compelling reasons exist, they must outweigh the 18 U.S.C.

   § 3553(a) factors to warrant sentence reduction. See 18 U.S.C. § 3582(c)(1)(A). These factors are:

            (1) the nature and circumstances of the offense and the history and characteristics
                of the defendant;

            (2) the need for the sentence imposed—

                     (A) to reflect the seriousness of the offense, to promote respect for the law,
                         and to provide just punishment for the offense;

                     (B) to afford adequate deterrence to criminal conduct;

                     (C) to protect the public from further crimes of the defendant; and

                     (D) to provide the defendant with needed educational or vocational training,
                     medical care, or other correctional treatment in the most effective manner;

            (3) the kinds of sentences available;

            (4) the kinds of sentence and sentencing range [provided for in the U.S.S.G.] . . .

            (5) any pertinent [Sentencing Commission] policy statement . . .

            (6) the need to avoid unwarranted sentence disparities among defendants with
                similar records who have been found guilty of similar conduct; and

            (7) the need to provide restitution to any victims of the offense.

   6
     See Shon Hopwood, Second Looks & Second Chances, 41 CARDOZO L. REV. 83, 123–24 (2019) (arguing Congress
   did not make § 924(c) sentence stacking retroactive because it did not want to make all inmates “categorically” eligible
   for sentencing relief, but Congress meant for relief from draconian sentences to apply “individually”).

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   Id. § 3553(a).

                                                      III. DISCUSSION

            Mendez moves for a sentence reduction based on an unusually long sentence and his

   extensive rehabilitation in prison (Dkt. #1395). He also contends that because the district court

   omitted the § 841(b)(1)(C) sentencing enhancement when instructing the jury, extraordinary and

   compelling circumstances warrant a reduction of the sentence (Dkt. #1395 at p. 15).

            Although Mendez has met § 3582(c)(1)(A)’s exhaustion requirement, he has not met the

   statute’s requirement that “extraordinary and compelling reasons” exist warranting a reduction of

   her sentence. Mendez’s motion, therefore, must be denied.

   A. Mendez Has Met § 3582(c)(1)(A)’s Exhaustion Requirement.

            Mendez’s motion may only be considered if he first meets § 3582(c)(1)(A)’s exhaustion

   requirement.      Courts may not consider a modification to a defendant’s sentence under §

   3582(c)(1)(A)(i) unless a motion for such a modification is properly made by the Director of the

   BOP or by a defendant who has fully exhausted their administrative remedies. 18 U.S.C.

   § 3582(c)(1)(A). Fully exhausting administrative remedies requires a denial by the warden of a

   defendant’s facility or waiting thirty days without receiving a response to a request.7 Id.

            Section 3582(c)(1)(A)’s exhaustion requirement is not waivable. See United States v.

   Rivas, 833 F. App’x 556, 558 (5th Cir. 2020) (“Because the statutory language is mandatory—that

   a prisoner must exhaust their BOP remedy before filing in district court—we must enforce this

   procedural rule . . .”); United States v. Reeves, No. 18-00294, 2020 WL 1816496, at *2 (W.D. La.



   7
     BOP regulations define “warden” to include “the chief executive officer of . . . any federal penal or correctional
   institution or facility.” 28 C.F.R. § 500.1(a); United States v. Franco, 973 F.3d 465, 468 (5th Cir. 2020); c.f. United
   States v. Campagna, 16 Cr. 78-01 (LGS), 2020 WL 1489829, at *3 (S.D.N.Y. Mar. 27, 2020) (holding that “the denial
   of Defendant's request by the Residential Re-entry Manager suffices to exhaust his administrative rights”).

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   Apr. 9, 2020) (“While the Court is well aware of the effects the Covid-19

   pandemic . . . § 3582(c)(1)(A) does not provide this Court with the equitable authority to excuse

   Reeves' failure to exhaust his administrative remedies or to waive the 30-day waiting period.”). If

   a defendant has not sought relief from the BOP, or has not waited thirty days since seeking relief,

   the Court may not consider their motion.

          On August 11, 2021, Mendez submitted a request to the warden, seeking a reduction of

   sentence (Dkt. #1395 at p. 33). More than thirty days have elapsed. Mendez has, therefore, met

   § 3582(c)(1)(A)’s exhaustion requirement.

   B. Mendez Has Not Met § 3582(c)(1)(A)’s Requirement that “Extraordinary and
      Compelling Reasons” Warrant a Sentence Reduction.

          Mendez’s motion turns on his assertion that his unusually long and “unconstitutional”

   sentence—coupled with his rehabilitation—constitute extraordinary and compelling reasons to

   reduce his sentence. These assertions fail to establish “extraordinary and compelling reasons”

   under § 3582(c)(1)(A)(i).

          The Court has discretion to decide whether Mendez’s conditions present “extraordinary

   and compelling reasons” warranting a sentence reduction. See Shkambi, 2021 WL 1291609, at *4.

   The Court is not bound by the Sentencing Commission’s policy statement and may consider any

   relevant facts in evaluating Mendez’s condition of incarceration. Id. Typically, courts consider

   whether a defendant suffers from a serious health condition, has a record of rehabilitation, the

   nature and circumstances of defendant’s offense, and whether a sentence is based on outdated law.

   See Brooker, 976 F.3d at 238. In this case, Mendez does not discuss any health conditions that

   warrant a sentence reduction.

          Further, as mentioned, the Court may look beyond matters of health to determine whether

   extraordinary and compelling circumstances exist. Even so, Mendez’s situation does not rise to


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   the requisite level. Mendez’s attempts to improve himself and his work ethic in prison are

   admirable (Dkt. #1395). But, as Mendez notes, rehabilitation and hard work are insufficient to

   constitute extraordinary and compelling reasons. Further, Mendez’s sentence was not overly harsh

   considering the circumstances. Mendez was found to play a significant role in heroin distribution.

   Moreover, although Mendez argues that his sentence is unconstitutional because the jury was not

   instructed as to certain elements, these arguments are not proper on a § 3582 motion. “A

   compassionate release request is not a matter of illegal or unconstitutional restraint.” Figueroa v.

   Chapman, 347 F. App’x 48, 50 (5th Cir. 2009). Rather, “§ 3582(c)(1)(A) provides a mechanism

   to seek a reduction in the term of a sentence, not to challenge its validity.” United States v.

   Handerhan, 789 F. App’x 924, 926 (3rd Cir. 2019). “The terms of neither the statute nor its policy

   statement provide release on the basis of arguments . . . that were or could have been raised on

   direct appeal or in a § 2255 motion.” Id. The “general rule,” which promotes important finality

   interests, still applies: “court[s] may not modify a term of imprisonment once it has been imposed

   . . . .” United States v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021) (quoting § 3582(c)); Teague

   v. Lane, 489 U.S. 288, 309 (1989) (plurality opinion) (recognizing that finality is an important

   attribute of criminal judgments, and one “essential to the operation of our criminal justice

   system”).

           In sum, weighing the evidence, Mendez fails to prove that his incarceration is

   “extraordinary and compelling” under § 3582(c)(1)(A)(i) framework. See United States v. Stowe,

   No. CR H-11-803(2), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019) (citation omitted)

   (stating that the defendant generally “has the burden to show circumstances meeting the test for

   compassionate release”).8


   8
    Given Defendant’s failure to meet § 3582(c)(1)(A)’s requirements, the Court need not address whether the applicable
   18 U.S.C. § 3553(a) factors support a sentence reduction.

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                                              *      *         *

            Under the rule of finality, federal courts may not “modify a term of imprisonment once it

     has been imposed” unless one of a few “narrow exceptions” applies. Freeman v. United States,

     564 U.S. 522, 526 (2011) (citing 18 U.S.C. § 3582(c)) (plurality op.); see also Dillon, 560 U.S. at

     819 (same). Compassionate release is one of those exceptions, but a defendant must conform both

     to the procedural and substantive requirements of § 3582(c)(1)(A) for a court to modify a sentence.

     Because Mendez has failed to meet the controlling requirements for compassionate release set

     forth in § 3582(c)(1)(A)(i), his Motion must be denied.

.                                              IV. CONCLUSION

            It is therefore ORDERED that Defendant’s Pro Se Motion for Reduction of Sentence (Dkt.

     #1395) is DENIED.

            IT IS SO ORDERED.

             SIGNED this 2nd day of November, 2021.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




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